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                            UNITED STATES DISTRICT COURT
                           FOR DISTRICT OF MASSACHUSETTS


  KENNETH A. THOMAS MD, LLC, a
  Connecticut limited liability company,
  individually and on behalf of all others similarly
  situated,
                                                       Case No. 1:18-cv-10957-DPW
         Plaintiff,

  v.

  BEST DOCTORS, INC.,

         Defendant.


           CLASS COUNSEL’S MOTION FOR CLASS COUNSEL EXPENSES

       Pursuant to Federal Rule of Civil Procedure 23(h) and the Court’s Order Conditionally

Certifying Settlement Class, Authorizing Provision of Notice, and Scheduling Fairness Hearing

(ECF No. 74), Class Counsel respectfully requests that the Court enter an order approving

reimbursement of Class Counsel’s out-of-pocket expenses of $3,695.91.

       Class Counsel’s motion is supported by the accompanying memorandum of law and the

record in this action, including the motion for preliminary approval of the class action settlement.

WHEREFORE, Class Counsel hereby respectfully requests that the Court approve the requested

expenses at or after the fairness hearing. A proposed Order for the Court’s consideration is attached

as Exhibit 1.

                                               Respectfully submitted,

       Dated: September 12, 2022               /s/Avi R. Kaufman
                                               Avi R. Kaufman (admitted pro hac vice)
                                               kaufman@kaufmanpa.com
                                               KAUFMAN P.A.
                                               237 South Dixie Highway, 4th Floor
                                               Coral Gables, FL 33133

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                                               Telephone: (305) 469-5881

                                               Class Counsel

                                CERTIFICATE OF CONFERRAL

          I hereby certify that I have conferred in good faith with opposing counsel on September

12, 2022, and is authorized to represent that Defendant’s counsel does not oppose the requested

relief.

                                               /s/Avi R. Kaufman
                                               Avi R. Kaufman (admitted pro hac vice)



                                  CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that, on September 12, 2022, I electronically filed the foregoing

document with the Clerk of the Court using CM/ECF, and it is being served this day on all counsel

of record via transmission of Notice of Electronic Filing generated by CM/ECF.



                                               /s/Avi R. Kaufman
                                               Avi R. Kaufman (admitted pro hac vice)




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